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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                            Case No.: 18-cv-5878

v.                                                             Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on November 1, 2018 [42] and

November 15, 2018 [48], in favor of Plaintiffs and against the Defendants Identified in Amended

Schedule A. Plaintiffs acknowledge payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant(s):

                      No.                     Defendant
                      288                     Denlertop1
                      768                    zhouzhou666
                      682                     wonbefirst


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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